Case: 5:18-cv-00043-JMH Doc #: 67 Filed: 04/19/19 Page: 1 of 2 - Page ID#: 782



                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY
                       CENTRAL DIVISION at LEXINGTON


 JOHN M. HIGGINS, et al.,                  )
                                           )
    Plaintiffs,                            )
                                           )
        vs.                                )         Civil No. 5:18-cv-043-JMH
                                           )
                                           )
 KENTUCKY SPORTS RADIO, et al.,            )
                                           )
    Defendants.                            )
                                           )
                                           )

                                         *****

                                NOTICE OF APPEAL

        Notice is hereby given that Plaintiffs, John M. Higgins, Carol Higgins, and

 Weatherguard, Inc., hereby appeal to the United States Court of Appeals for the Sixth

 Circuit from the District Court’s Memorandum Opinion and Order (Doc. 65) and

 Judgment (Doc. 66) in the above captioned matter which were entered on March 20,

 2019, and which dismissed the Plaintiffs’ amended complaint.


                                            Respectfully submitted,

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                                           1
Case: 5:18-cv-00043-JMH Doc #: 67 Filed: 04/19/19 Page: 2 of 2 - Page ID#: 783



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                              CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing has been served by electronic service
 upon all parties this 19th day of April, 2019.

                                              /s/ Kent Wicker
                                              Kent Wicker




                                             2
